Case 1:15-cv-22694-AOR Document 54-1 Entered on FLSD Docket 01/26/2016 Page 1 of 2



                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO.: 1:15-CV-22694-AOR

   ITZEN ISAAC CABRERA URBINA, and all
   others similarly situated under 29 U.S.C.
   216(B),

                     Plaintiff,

   vs.

   ROK SOUTH, LLC; JEY HOSPITALITY
   GROUP, LLC

                     Defendants.                    /

         ORDER APPROVING SETTLEMENT AGREEMENT AND GENERAL RELEASE
                    AND DISMISSAL OF CASE WITH PREJUDICE

           This above-styled case is before the Court on the Parties’ Joint Motion for Review and

   Approval of the Settlement Agreement and General Release and Stipulation of Dismissal with

   Prejudice.

           This case involves claims arising under the Fair Labor Standards Act, 29 U.S.C. § 201 et

   seq. (“FLSA”) brought by Plaintiff Itzen Isaac Cabrera Urbina (“Plaintiff”) against Defendants

   Rok South, LLC (“Rok South”) and JEY Hospitality Group, LLC (“JEY”) (collectively the

   “Parties”). The Parties have reached an agreement to resolve all claims in this case and have

   notified the Court of their settlement. By stipulation, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii),

   the Parties have stipulated to Plaintiffs’ voluntary dismissal with prejudice of this case in its

   entirety contingent upon the Court’s approval of the Parties’ Confidential Settlement Agreement

   and General Release (“Settlement Agreement”). Given that this case involves claims under the

   FLSA, the parties seek Court approval of their executed Settlement Agreement and the entry of

   an order dismissing this case with prejudice.
Case 1:15-cv-22694-AOR Document 54-1 Entered on FLSD Docket 01/26/2016 Page 2 of 2



          The Parties have exchanged and executed a Settlement Agreement and have submitted

   their agreement for the Court’s review. Accordingly, the Court has reviewed a copy of the

   Parties’ Settlement Agreement, and upon examination of the agreement, the pleadings, and the

   Parties’ representations, the Court finds that the Settlement Agreement represents a fair and

   equitable compromise of Plaintiff’s claims.      Therefore, the Court hereby APPROVES the

   settlement.   The Parties are ordered to finalize the settlement through the exchange of

   consideration as contemplated in the Settlement Agreement.

          Based upon the Court’s approval of the Parties’ Settlement Agreement and the Parties’

   stipulation of dismissal, Plaintiff’s claims are, in their entirety, hereby DISMISSED WITH

   PREJUDICE. Each party is to bear his or its own costs, fees and expenses. The Clerk of Court

   is directed to promptly enter a final judgment in accordance with this Order.

          DONE AND ORDERED, this _____ day of _____, 2016.



                                                HONORABLE ALICIA M. OTAZO-REYES
                                                UNITED STATES MAGISTRATE JUDGE




                                                   2
